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            C.      The Court set March 26, 2019, as the last day to file a proof of claim in Debtor's
 2 Bankruptcy Case ("Bar Date"). BlueChip represents that it did not receive actual knowledge of the
 3 Bankruptcy Case prior to the expiration of the Bar Date.
 4          D.     BlueChip was one many victims of Debtor's fraudulent activities culminating in a
 5 criminal case brought by the Orange County District Attorney's Office: Major Fraud Division.
 6          E.     On June 13, 2019, Debtor pied guilty to 28 felony crimes including counts relating to
 7 BlueChip. As part of the plea deal, Debtor was ordered to pay restitution to victims including
 8 BlueChip in the amount of$337,500. Trustee's counsel received a list of victims from the District
 9 Attorney's office and contacted the ones that were not scheduled by Debtor. Trustee's counsel then
IO contacted such creditors including BlueChip.
II          F.     On June 17, 2019, as Claim No. 9, BlueChip filed an unsecured proof of claim in the
12 amount of $114,656 ("Claim No. 9").
13          G.     Because BlueChip did not receive notice of the Bankruptcy Case and Bar Date, the
14 Patties have agreed that BlueChip Proof of Claim will be treated as timely.
15          H.     Debtor and Trustee have executed a separate stipulation that the $120,000 of funds
16 paid by Debtor to his criminal defense counsel for purposes of making partial payment on account o

17 restitution shall be turned over to the Trustee.
18         WHEREFORE, the Patties agree as follows:
19         I.      Claim No. 9 filed by BlueChip on June 17, 2019, shall be deemed timely-filed and
20 shall receive pro rata distributions along with other timely-filed general unsecured creditors; and
21        2.       This Stipulation may be executed in one or more counterparts and facsimile or
22 electronic signatures may be used in filing this document with the Court.
23   DA TED: October 13, 2020                         MARSHACK HAYS LLP
24                                                    By: Isl D. Edward Hays
                                                          D. EDWARD HAYS
25                                                         Attorneys for Trustee, LARRY D. SIMONS
26   DATED: June_, 2019                                                , t!kii'l'.KS, L LC
27
28                                                        Chie Executive Officer
                                                          BLUECHIP MOTORCARS, LLC

                           STIPULATION TO DEEM CLAIM OF BLUECHIP AS TIMELY
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): STIPULATION TO DEEM TIMELY THE PROOF OF
CLIAM FILED BY BLUECHIP MOTORCARS, LLC will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
13, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


       Amid Bahadori atb@bahadorilaw.com
       D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.court
        drive.com
       Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
       Larry D Simons (TR) larry@lsimonslaw.com,
        c119@ecfcbis.com;nancy@lsimonslaw.com;cynthia@lsimonslaw.com;simonsecf@gmail.com;kareng@lsimonsla
        w.com
       United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On October 13, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

DEBTOR
SIDNEY SERAFINI
7911 ARLINGTON AVE
RIVERSIDE, CA 92503-0417

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on October 13, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
              [PURSUANT TO JUDGE CLARKSON’S REVISED INTERIM PROCEDURES RE: COVID-19,
                                 NO JUDGE’S COPIES ARE REQUIRED AT THIS TIME.]


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  October 13,, 2020              Layla Buchanan                                                  /s/ Layla Buchanan
  Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
